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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    JOHN SUTPHEN,                                    Case No.: 3:16-cv-02402-BEN-JMA
12                                    Plaintiff,
                                                       ORDER GRANTING JOINT
13    v.                                               MOTION TO DISMISS
14    DIVERSIFIED ADJUSTMENT
      SERVICE, INC.,
15
                                    Defendant.
16
17
18         The Court has considered the Joint Motion for Dismissal without Prejudice (the
19   “Joint Motion”) filed by Plaintiff John Sutphen and Defendant Diversified Adjustment
20   Service, Inc. (Docket No. 8.). For good cause shown, the Joint Motion is GRANTED.
21   The action is DISMISSED WITHOUT PREJUDICE. Each party shall bear its own
22   fees and costs.
23         IT IS SO ORDERED.
24
25   DATED: January       >2017
                                              / HONfkO^ERT. BENITE2
26                                              United States District Judge
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